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  From: Nima Safapour, Esq.
Subject: Re: Gegard Mousasi
   Date: Maren 26. 2024 at 10 44AM
     To: Mike Kogan                         , Donn Davis                        , Peter Murray                 , Ray Sefo



      Gentlemen.

      I hope this email finds you well. Congratulations on your Belfast event. I was happy to see that Patricio was
      able to fight on short notice, and have the opportunity to redeem himself and his legacy after two consecutive
      losses.

      We were hoping to receive a response from you and your team yesterday. Similar to the last few emails I have
      sent, we have received no communication or efforts to resolve this problem with Gegard and PFL despite how
      pressing this matter has become. With that being said, I listened to Don's interview with Ariel Helwani last week
      in which he was promoting the upcoming Riyad PPV. He mentioned and promoted various inactive PFL fighters
      like Cyborg and Francis. Unfortunately, zero mention was made of Gegard being on that card despite there
      being no question that the budget could support having him on that event. It is disappointing to be in a situation
      where we have a promoter that either does not have a priority to promote us, or does not have an intention to
      book Gegard for a fight that has been owed for over a year now. My question is does PFL have an intention and
      a commitment to book Gegard on the Riyad PPV event? Please note, that even if he gets booked on that card
      and assuming it happens in September, that will be approximately 1 ½ years that Gegard has been marinated
      during a vital era of his career. Which is unacceptable. Every quarter that PFL refuses to perform is another
      critical portion of Gegard's career that is wasted that he can not get back.

      Please also note that parties have been contacting us asking if we are retired. Wnich is insane as we have been
      ready, willing, and able to compete 2-3 times a year for the last 7 years. We have not responded up until this
      point as we have tried to gain clarity with what your intentions and plans are with Gegard. Which has been
      unsuccessful. As we are clearly not being promoted by our promoter, and false rumors are swirling in the market
      about Gegard to the detriment of his brand; we have no choice but to promote ourselves. We are in the process
      of scheduling various interviews with high profile journalists in our space to give an update on Gegard.

      I hope we can find a resolution to this outstanding problem.

      Best,

      Nima


      Nima Safapour, Esq.




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      Founder & Principal
      Moments Sports Consultancy



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        On Mar 19, 2024, at 5:34 PM, Nima Safapour, Esq.                      > wrote:




        Gentlemen,

        I w rite to you w ith profound concern regarding the treatment and future opportunities for Gegard Mousasi under
        the Bellator/PFL banners. The recent developments stemming from the new streaming partnership with
        Bellator raise critical issues that cannot be overlooked.
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    It has come to our attention that, due to the scheduling constraints imposed by the new partnership, Gegard
    may not have the opportunity to compete until September, following the Dublin event in June. This prolonged
    period of inactivity—nearly 1 ½ years since his last contest—poses significant risks to Gegard's legacy, his
    ability to adequately prepare for a fight, and his financial well-being. That is assuming he gets booked for
    September which there is no reason to believe will even happen.

    I find it incomprehensible that one of the most prominent figures in your roster, and indeed in this sport, would
    intentionally be subjected to such treatment. This is not historically how this sector has treated its legends
    especially when they are still capable and very competitive. This intentional departure from the spirit of the
    terms that induced Gegard to sign with Bellator, along with a blatant disregard for the assurances and promises
    made to Gegard thereafter is deeply troubling.

    Despite our attempts to address this matter, the responses received thus far have been inadequate. Last
    December, I personally brought attention to this seriousness of this issue to various senior members of the
    talent team which I received almost no response. Thereafter, excuses have been provided for Gegard's forced
    inactivity, which only serve to exacerbate our concerns. Our suggestions for potential matchups, including
    fighters like Ray Cooper, were immediately dismissed because we were told Cooper was unavailable.
    However, a few short weeks after he was booked on the exact event we requested against another opponent.

    The disparities in treatment become glaringly apparent when comparing Gegard's situation to that of others.
    Claims of Gegard's compensation being prohibitive are contradicted by the scheduling of short notice fights for
    fighters who command higher pay. In the hope of finding compromise, we even proposed for Gegard to
    compete in your PFL 205 lbs. tournament which was met with silence.

    It is evident that there is a fundamental lack of intention and reckless disregard to honor the commitments
    made to Gegard. If this is indeed the case, I believe we are left with no choice but to explore the option of PFL
    buying out Gegard's contract. That is not what we wanted as we were enthusiastic and optimistic about the
    merger. However, I don’t see any other choice if PFL refuses to perform. With that being said, if there remains
    a genuine desire to fulfill the terms of the agreement in good faith, then we must engage in a constructive
    dialogue on how Gegard will be utilized immediately for the 2024 calendar.

    I request that you provide clarity on the next steps by Monday, March 25, 2024. As always, I am available at
    your earliest convenience to discuss this matter further.

    Best Regards,

    Nima


    —
    Nima Safapour, Esq.




    ---
    Founder & Principal
    Moments Sports Consultancy



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      On Feb 29, 2024, at 11:15 AM, Nima Safapour, Esq.                        wrote:



      Dear Gentlemen,

      I hope this email finds you well.

      Firstly, I'd like to extend my congratulations on the success of the recent event in Riyadh. It was undoubtedly
      a remarkable achievement.

      I'm reaching out to address a matter that has come to my attention regarding Patricio Freire. Patricio has
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      been swiftly scheduled for a short-notice opportunity to compete on March 22, 2024. While I understand the
      circumstances surrounding his fight in Riyadh and his status as Champion, I believe it's essential to highlight
      the disparity in treatment between Patricio and Gegard.

      Gegard has fought significantly fewer times than Patricio in the past two years and is currently receiving a
      lower compensation. More specifically, Patricio has fought 5 times in the last 2 years. In May, Gegard will
      have fought 2 times in 2 years. However, considering that there is no solution to Gegard’s situation, that
      figure will likely be worse as it seems as though he is going to be sidelined for a greater period exceeding
      May 2024. Despite this, an immediate and creative solution was found for Patricio's situation even though he
      gets a higher compensation and he fights far more frequently than Gegard. However, when it comes to
      Gegard, we seem to be in a holding pattern, with no clear path forward.

      Considering Gegard's inactivity, it's concerning that he may face up to a year (or more) without competing,
      which will adversely affect his career. I firmly believe that Gegard and PFL’s obligations and opportunities to
      one another should be treated with the same urgency and priority as Patricio's.

      In light of these circumstances, I kindly request that Gegard also be booked for an upcoming event in the
      coming months. Given the precedent set with Patricio's situation, I trust that we can find a similar solution for
      Gegard, especially considering the length of time he has been sidelined.

      I would greatly appreciate your guidance on the next steps for Gegard and how we can move forward to
      ensure his active participation in upcoming events.

      Thank you for your attention to this matter. I look forward to your response.

      Best regards,

      Neems


      —
      Nima Safapour, Esq.




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      Founder & Principal
      Moments Sports Consultancy



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        On Feb 23, 2024, at 8:50 AM, Nima Safapour, Esq.                        wrote:



        Hi Everyone,

        I hope you're all having a successful trip in Riyadh and gearing up for the big event this week.

        I wanted to provide an update on the conversation Mike Kogan and I had two nights ago (Wednesday). We
        had a productive discussion where we exchanged our respective situations and points of view.

        As I anticipated from the outset, we understand the need to be strategic with Gegard's usage from a budget
        perspective. While this isn't an issue specific to Gegard, we acknowledge the challenge the promotion
        faces with fighters of his caliber. We’ve always aimed to be good partners in addressing this issue. My
        frustration stems from knowing about this challenge since December. When Derek Brunson declined to
        fight us in Riyadh, I made numerous attempts to communicate with Ray, Greg Savage, and Eduardo over
        the Christmas holidays, emphasizing the urgency of booking Gegard in Riyadh to avoid complications for
        PFL throughout the year. It felt like almost a frantic plea as I was calling, texting, and emailing anyone that
        would hear me. Unfortunately, due to the holiday season, I didn't receive much feedback, and it wasn't
        prioritized afterward as the promotion was focused on other matters. Mike Kogan wasn't in his position at
        that time, so I didn't contact him.
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       Moving forward, Mike assured me that the company is committed to finding a solution for Gegard, which we
       sincerely appreciate. We remain optimistic that after the Riyadh event, there will be more bandwidth
       available for new positive developments within PFL, allowing us to find a fantastic solution that benefits
       Gegard and both the PFL and Bellator platforms. I'll check in with everyone again a week or two after the
       Riyadh event. In the meantime, please feel free to reach out if I can assist with the process for Gegard or
       any of my other athletes.

       Wishing you all a fantastic event this weekend, and know that we'll all be rooting for your success.

       Best regards,

       Neems



       —
       Nima Safapour, Esq.




       ---
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       Moments Sports Consultancy



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         On Feb 21, 2024, at 1:02 PM, Mike Kogan                               > wrote:

         Have some last min stuff to handle so be more afternoon for you

         --




        -
         Mike Kogan
         PFL/Bellator MMA



         Sent from my iPhone

              On Feb 22, 2024, at 00:01, Nima Safapour, Esq.                                    wrote:

              Ok I will be available

              Nima Safapour, Esq.




        -
              Founder & Principal
              Moments Sports Consultancy




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                On Feb 21, 2024, at 11:03 AM, Mike Kogan <                           > wrote:

                Hour , 1 1/2 max

                --




               -
                Mike Kogan
                PFL/Bellator MMA



                Sent from my iPhone

                     On Feb 21, 2024, at 21:23, Nima Safapour, Esq.                                 wrote:

                     Mike, what time will you be calling today as I know you are working on Riyad time?

                     Thanks.
                     —
                     Nima Safapour, Esq.
                     Founder & Principal
                     Moments Sports Consultancy
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              On Feb 20, 2024, at 9:48 AM, Mike Kogan                             wrote:

              Yessir. Will connect




             -
              Mike Kogan
              PFUBellator MMA




                On Feb 20, 2024, at 20:21, Nima Safapour, Esq.                                    wrote:

                Thank you, Donn. I am available tomorrow at Mike's convenience.

                Appreciate the quick response.

                Nima

                Nima Safapour, Esq.




               --
                Founder & Principal
                Moments Sports Consultancy



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                  On Feb 20, 2024, at 9:11 AM, Donn Davis                              > wrote:

                  Hi Nima:

                  We value all fighters, and never want anyone to not have information, so thanks for reaching out.

                  We don't know what the previous company promised, and obviously there are new plans now.

                  What I can say is we will always be transparent partner with you. Mike, please call tomorrow and provide update on
                  our plans and thinking. Thank you!

                  Donn Davis
                  Chainnan and Founder
                  Professional Fighters league

                     On Feb 20, 2024, at 8:06 PM, Nima Safapour, Esq.                                  > wrote:


                     Gentlemen,

                     I hope this message receives you well. I wanted to follow-up on Gegard and try to make some
                     synergistic progress on this issue prior to PFL traveling to Riyad for the PPV event in the coming
                     week. We are again asking PFL/Bellator to discuss and formulate a meaningful strategy for Gegard
                     for 2024. At this point, and since PFL purchased Bellator, I have suggested 4 different fight options
                     since January 2024 for Gegard. None of which I have received any discussion on. As a matter of fact,
                     one of the suggestions I made for Gegard was to fight Ray Cooper in Riyad and it was ignored. But
                     weeks later Ray was booked on that same event with another opponent. I have also asked
                     numerous times both telephonically to Ray and via email on this thread that we schedule a call so
                     we can formulate a strategy for 2024 for Gegard. I also said that Gegard would make himself
                     available for the call shou ld you feel that would be helpful. That seems to have also been rejected as
                     no one has responded to that request. Mike Kogan has told me he wi ll cal l me, but I have yet to
                     have received a phone cal l from him on this matter and it has been ongoing since January.

                     I want to also bring to everyone's attention the following. In three months, it wi ll be one year since
                     Gegard's last fought. Prior to that, Gegard was sidelined for a year between his Eblen and Fabian
                     Edwards bouts much to Gegard's regret and disappointment as we had asked for a fight within a
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                 month or so aWer he fought Eblen. He is not being allowed to ﬁght ac<vely, and from a consumer’s
                 perspec<ve an impression is going to the market that every <me he ﬁghts he is coming in and out of
                 re<rement. Which is not something we ever wanted.

                 The spirit of the deal between Bellator and Gegard was always for him to ﬁght a minimum of 2-3
                 <mes a year. He has averaged 1 ﬁght a year throughout his tenure at Bellator. Its very unfortunate,
                 as these are the best years of Gegard’s prime that are being wasted by inac<vity. We were always
                 promised that he would be more ac<ve. These are also the most important ﬁghts that will secure
                 his livelihood for his re<rement. Instead, and respec[ully, we are being marinated into obscurity
                 which can be fatal to Gegard’s brand and his ability to bring value to your organiza<on.
                 Furthermore, Gegard has ac<vely been training without any knowledge of when he will ﬁght. I am
                 afraid he will be suscep<ble to overtraining and ge]ng injured. We need to understand what is
                 happening so we can responsibly manage his training schedule and his ﬁnances. All of which have
                 been in further disarray due to the uncertainty of this most recent merger.

                 At the end of the day, Gegard is one of the few legends leW in the sport that is s<ll ﬁgh<ng very
                 compe<<vely. PFL is a ﬁghter ﬁrst promo<on, and Gegard wants to be a good partner and elevate
                 the PFL/Bellator brands. If you can please advise us on what the plan is for 2024 we would greatly
                 appreciate it as we need some structure to plan out the year for Gegard’s ﬁnances and his training
                 regimen.

                 I am available at your convenience, and I appreciate your understanding on this maMer.

                 All the best,

                 Neems

                 —
                 Nima Safapour, Esq.




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                 Founder & Principal
                 Moments Sports Consultancy



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                   On Jan 23, 2024, at 1:01 PM, Nima Safapour, Esq. <                                > wrote:

                   Hi Mike.

                   I understand who he is fighting and the fact that he is replacing an injured fighter. Coming off of a loss, he is
                   fighting a welterweight champion at a catch-weight of nearly 185 lbs. My point is we were told it was not an
                   option for Gegard weeks ago because he was unavailable to compete despite the fact that it made a lot of sense
                   on paper. It was not a match-up to consider for that reason so not even an effort was made to explore the
                   opportunity. And now he is on the card that we wanted to fight him on. Respectfully, that is where my confusion
                   and disappointment is coming from.

                   Sure, I am happy to chat tomorrow. I am just concerned that there is a lack of motivation to activate Gegard that
                   will damage his brand and his ability to make a contribution to the PFL platform. All we want is to be good
                   partners to PFL and to create a path forward to help build the brand. It is not easy to do that if we get marinated
                   into obscurity.

                   I appreciate everyone hearing me out.

                   Neems
                   —
                   Nima Safapour, Esq.




                  ---
                   Founder & Principal
                   Moments Sports Consultancy



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                     On Jan 23, 2024, at 12:48 PM, Mike Kogan                               wrote:

                     Nima
                     You should read who he is fighting before sending this email, it will make most of wha you are saying
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                   unapplicable

                   We will connect tomorrow after the presser.




                                                 Mike Kogan I Head, Bellator Fighter Operations

                    ~
                    PAQFESSKIIAL FIGHTERS LUU
                                                 Professional Fighters League
                                                 www.PFLmma.com
                       '-/

                     On Jan 23, 2024, at 3:40 PM, Nima Safapour, Esq.                                      wrote:

                     Hello Everyone.

                     I just read that Ray Cooper is now scheduled to fight on the Saudi card. Which is great. I truly believe he
                     will be a great addition to that event. With that being said, when Brunson refused to fight Gegard, I had
                     suggested to Ray to put us against Ray as both fighters are former champions in Bellator/PFL, both guys
                     can fight at 185 lbs, and stylistically it would be an intriguing match-up and it would have been a barn-burner
                     of a fight. Also, since Brunson refused to fight us, we would take the guy that Brunson just beat which on
                     paper would look fine as both guys are coming off of losses. I was told that Ray Cooper would be not be an
                     option because he is dealing with personal matters and has no intention to fight anytime soon. And now I
                     see that he has been booked on the very card we had asked to be matched on. Unfortunate as it feels like a
                     lost opportunity. I believe a match-up with Gegard would have been very compelling from a consumer
                     perspective, and would have made a lot of sense.

                     Mike Kogan has asked that he and I speak tomorrow after your presser. Understandably, he has been very
                     buys. Hopefully, we can have some promising strategy for 2024 for Gegard.

                     Thanks very much.

                     Neems

                     Nima Safapour, Esq.
                     Founder & Principal
                     Moments Sports Consultancy

                    ~
                     'No Single Moment Ever Defines Who We Are. But Any Moment Can Lead To What We Will Become."




                         On Jan 18, 2024, at 6 36 AM, Mike Kogan                                wrote:


                         Hi Nima.

                         I will be calling you today about the rest of your guys, so we are can discuss that as well.




                           ~
                           PAOFESSOIAL FIGHTERS LUU
                                                      Professional Fighters League
                                                      www.PFLmma.com
                              '-/

                             On Jan 17, 2024, at 5:16 PM, Nima Safapour, Esq.                                   wrote:

                            Hello Gentlemen,

                            I hope everyone is doing great. Congratulations on the announcement yesterday for the event in Saudi
                            Arabia. Gegard had hoped to be on that card. Unfortunately, that won't be the case. With that being
                            said. our focus now is the future and our collective efforts to mao a olan out for Geaard and
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                          ,                                                           p   p              g
                       PFL/Bellator in 2024.

                       I had asked both Ray Sefo and Mike Kogan that if we could not place Gegard on the event in Saudi
                       Arabia, for us to have a chat and make a plan for 2024 together. Ideally, we would like to fight at 185
                       lbs. If that is impossible for whatever reason, we would like to propose the following. Gegard is
                       prepared to participate in the PFL $1MM 205 lb tournament against Derek Brunson in the first fight of
                       the PFL season. If chosen, we plan on winning the tournament. As PFL/Bellator wanted to make that
                       fight in Saudi Arabia, we believe that match makes the most sense from an entertainment and sports
                       perspective. To start, the stylistic match-up is super intriguing. That is a match-up that should have
                       happened years ago in the UFC and now in the PFL. I don’t believe Brunson can have any more
                       reasons not to accept the fight should it be in the tournament. Also, since both fighters are coming up
                       from 185 lbs it makes the most amount of sense. From a consumers’ perspective it is a intriguing
                       match-up knowing their history and that both are coming up from 185 lbs. Furthermore, both will be the
                       most well known names in the division. In reality, they would probably be most suited to headline that
                       card or be co-main event worst case scenario.

                       Please let me know if that is an idea we can explore together. If it is not, please let me know when we
                       can please chat to make a plan for Gegard in 2024. He is a valuable asset for the organization, and it
                       would be a lost opportunity not to capitalize on what he brings to the table. He is on the Mount
                       Rushmore of best MWs, and he is one of the best fighters this sport has ever produced. I can’t think of
                       any fighter that has had his longevity of staying at the top for 2 decades. Our goal is to be a great
                       partner to PFL/Bellator; and to show that this organization is the best promotion on the planet. We are
                       your partners.

                       Thank you in advance for the consideration and feedback.

                       All the best,

                       Neems
                       —
                       Nima Safapour, Esq.




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                       Founder & Principal
                       Moments Sports Consultancy



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